Case 01-01139-AMC           Doc 22814-21              Filed 08/14/09           Page 1 of 15




                       IN   THE    DISTRICT         COURT     OF THE     NINETEENTH


                  JUDICIAL         DISTRICT         FOR    THE   STATE    OF MONTANA


                            IN    AND    FOR   THE     COUNTY     OF    LINCOLN



          ROBERT            NELSON   AND       NETTLE
          JEAN    NELSON        HUSBAND        AND     WIFE           CAUSE    NO DV98107

          ROYCE        RYAN        AND    HELEN                       CAUSE    NO DV98100
          RYAN     HUSBAND         AND    WIFE

                            PLAINTIFFS

                  VS


          WR   GRACE              COCONN
    10    CONNECTICUT            CORPORATION           AND
          DOES     IIV
    11
                            DEFENDANTS
    12


    13


    14
                                          VIDEO       DEPOSITION
    15
                                                       OF
    16
                                           ANDREW            WRIGHT
    17
                                  ON    BEHALF       OF THE      PLAINTIFF
    18


    19


    20
                                   TAKEN       AT    THE    VENTURE      INN
    21                                   443HIGHWAY     WEST
                                         LIBBY    MONTANA
    22                            THURSDAY     DECEMBER   16              1999
                                                1218        PM
    23


    24
             REPORTED   BY DEBRA                      HEDMAN  RPR RMR AND NOTARY
    25       PUBLIC   FOR THE STATE                   OF MONTANA FLATHEAD COUNTY
Case 01-01139-AMC       Doc 22814-21                      Filed 08/14/09                 Page 2 of 15




                                             ANDREW               WRIGHT

          HAVING    BEEN        FIRST        DULY       SWORN      TO    TELL       THE    TRUTH       THE


          WHOLE     TRUTH        AND        NOTHING        BUT     THE    TRUTH           TESTIFIES


          UPON    HIS   OATH       AS       FOLLOWS

                                            DIRECT        EXAMINATION


          BY   MR    SULLIVAN

                           PLEASE           STATE       YOUR      NAME       FOR    THE    RECORD

                           ANDREW                WRIGHT

                           IS     IT    ALL      RIGHT       IF         CALL       YOU    ANDY

    10                     YES

    11                     WHERE        DO YOU          LIVE

    12                     ON     BOBTAIL           ROAD        1432

    13                     HERE        IN     LIBBY        MONTANA

    14                     YES

    15                     WHERE        WERE        YOU    BORN

    16                     ON     MEDICINE             LODGE      CREEK1       SOUTHWEST          OF


    17    DILLON        ABOVE          WHAT       USED     TO     BE    ARMSTEAD            WHERE


    18    CLARK     CANYON        DAM       IS    NOW        BUT         WAS       BORN    12   MILES


    19    ABOVE     THAT     DAM

    20                     WHAT        DID       YOUR     FAMILY        DO    DOWN        THERE

    21                     THEY        WERE       SHEEP      RANCHERS

    22                     HOW     OLD        ARE      YOU

    23                     SEVENTYSEVEN

    24                     WHEN        DID       YOU    MOVE      TO    LIBBY

    25                     SEPTEMBER              OF    1956
Case 01-01139-AMC            Doc 22814-21                     Filed 08/14/09                   Page 3 of 15




                                                                                                                    11




                                 EXCUSE        ME           IVE        GOT         DIZZY       SPELL        HERE


          AND          DONT        KNOW        WHAT         CAUSED          IT

                                 THAT     WOULD         BE    VERY          CLOSE

                                 AND     YOU     WORKED           THERE          FOR    APPROXIMATELY

           FIVE       YEARS

                                 FIVE     AND           HALT

                                 IM      HANDING            YOU    NEXT           ANDY          DOCUMENT


          WHICH        HAS       BEEN     MARKED            FOR    IDENTIFICATION                   PURPOSES        AS


          EXHIBIT           552         WHICH        APPEARS           TO    BE         SUMMARY        OF    YOUR

    10    WORK        HISTORY

    11                           THIS     IS     VERY        APPROXIMATE                OF    THE     TIME    THAT


    12          WORKED       IN    THE        DIFFERENT            DEPARTMENTS                FOR     ZONOLITE

    13                           OKAY           SO     IS    THAT            FAIR       OR    APPROXIMATE

    14     SUMMARY          OF    YOUR        WORK      HISTORY             AT    ZONOLITE

    15                           YEAH

    16                           REFERRING             TO    THAT       EXHIBIT          AS    NECESSARY

    17     WHAT       WAS    YOUR        FIRST         POSITION             AT    ZONOLITE

    18                           FIRST        POSITION            AT    ZONOLITE


    19                           YES

    20                                  WAS     WHAT        THEY       CALLED          THE    SERVICE        CREW


    21     OR     CONSTRUCTION                  AND          WAS             WHEN       YOU    WORKED        THERE

    22     YOU     WERE      LOANABLE            TO     ANY       OTHER          DEPARTMENT           THAT    WAS


    23     SHORT            MAN               WORKED         IN     THE      SHOP       AS          LOANER    QUITE


    24          BIT    WHEN             FIRT         WENT     UP       THERE

    25                           DIRECTING             YOUR       ATTENTION             TO    PHOTO     EXHIBIT
Case 01-01139-AMC            Doc 22814-21                    Filed 08/14/09                  Page 4 of 15




                                                                                                                    12




          128         DOES     THAT        SHOW        WHERE     THE          SERVICE        YARD       IS    AND


          THE     SHOPS       ARE

                              THIS        IS    THE     SHOP     AREA          HERE        YEAH

                              HOW     LONG           ANDY       DID       YOU    WORK        IN    THE


          CONSTRUCTION              DEPARTMENT               BEING        LOANED        OUT       FOR    VARIOUS


          TASKS

                              OH           DONT         KNOW      EXACTLY             BECAUSE


          WOULD       BE     WORKING           THE     CONSTRUCTION                  YOU     KNOW        FOR


          FEW     DAYS       AND     THEN            WOULD      BE     LOANED         OUT     TO     THE      SHOP


    10    FOR         MONTH

    11                        THE     SUMMARY           THAT      WEVE          PUT     TOGETHER             OF


    12    YOUR     WORK       HISTORY           INDICATES            APPROXIMATELY                 NINE


    13    MONTHS        INSIDE        OF       THE     CONSTRUCTION              DEPARTMENT

    14                        APPROXIMATELY                  NINE      MONTHS              FROM      THERE


    15    BID     INTO       THE     DRY       MILL     AND          WENT       IN     THERE        LISTED        AS


    16         SWEEPER         BUT             ACTUALLY         WENT          INTO     THE     TEST       LAB     AND


    17    WORKED        AS         TESTER         OF    THE     ORE            AND     THAT       WAS     FAIRLY


    18    INTERESTING              WORK

    19                        MAYBE        WE     CAN     START          BY    DIRECTING           YOUR


    20    ATTENTION           TO     PHOTO        EXHIBIT         125            AND       ONCE       AGAIN

    21    HOLDING          THAT      UP    SO     THAT       MATT        CAN    SEE     IT        CAN     YOU

    22    SHOW     US      WHERE      THE       DRY     MILL      IS      LOCATED

    23                        THAT        WAS     THE     DRY     MILL          WHERE        MY     FINGER          IS

    24                        AND     DID       YOU     WORK        IN    MORE        THAN     ONE       POSITION

    25    IN    THE     DRY    MILL
Case 01-01139-AMC               Doc 22814-21                     Filed 08/14/09               Page 5 of 15




                                                                                                                      13




                                 YES

                                 AND       YOU       INDICATED          YOU       WORKED       FOR           PERIOD

           OF    TIME       AS            TESTER           IS    THAT    RIGHT

                                 YEAH

                                 DID       YOU       ALSO       WORK    AS         SWEEPER

                                 NOT       TOO       MUCH              DID    SOME        SWEEPING            BUT


           MOSTLY          IT    WAS       TOP       FLOOR       OPERATOR               AND THEN              WENT


           FROM       THERE          TO    THE       BOTTOM       FLOOR            EVENTUALLY                 WOUND


           UP    IN    THE       WET       MILL        AND


    10                           WELL           WHY    DONT        WE    STOP       THERE            IT      SOUNDS


    11     LIKE       YOU       DID       SEVERAL


    12                           WHAT

    13                           IT       SOUNDS       LIKE       YOU    DID       SEVERAL        DIFFERENT


    14     JOBS       IN    THE       DRY       MILL        SO WHAT               WOULD       LIKE      TO    DO     IS


    15     WORK       OUR       WAY       THROUGH          THOSE       DIFFERENT           POSITIONS               AND


    16     MAYBE       WHAT          WE    WILL       DO    IS


    17                           WHEN       YOU       WORKED       IN    THE       DRY     MILL      YOU      COULD


    18     BE    CALLEDTO                 OPERATE          THE    SKIP       OR    YOU     COULD        HAVE


    19     BAD    SPILL          AND       YOUD        BE       SWEEPING            THE       MAIN


    20     OCCUPATION                OF    THE       TOP    FLOOR       OPERATOR           WAS     TO     KEEP       THE


    21     SCREENS          BRUSHED             SO    THAT       THE    ORE       WOULD       SEPARATE

    22     PROPERLY             ON    THE       VIBRATING          SCREENS

    23                           IN       TERMS       OF    WORKING          AS         TOP    FLOOR


    24     OPERATOR              IT       WAS    THEN       UP    ON    THE       TOP     FLOOR      OF      THE     DRY

    25     MILL        IS       THAT       RIGHT
Case 01-01139-AMC          Doc 22814-21                       Filed 08/14/09                      Page 6 of 15




                                                                                                                            14




                               YES

                               MAYBE        YOU     COULD          POINT          TO    US    THEN           AND     MATT


          CAN     GET     IT    ON HIS           VIDEO        CAMERA              WHERE       WERE           TALKING


          ABOUT

                               INDICATING

                               AND     THEN       COULD           YOU       DESCRIBE          FOR       US    THE


          KIND     OF     WORK       YOU     DID        AS    TOP       FLOOR          OPERATOR               WHAT


          WAS     INVOLVED            IN    THAT        WORK

                               YOU     HAD          LOT       OF       BIG    VIBRATING             SCREENS


    10     THAT    THE     ORE        TRICKLED           DOWN          OVER            IT    SEPARATED                  LOT


    11    OF     WASTE     FROM        IT         IT     SEPARATED                THE       SIZE    OF       THE       ORE


    12     FROM    DIFFERENT               SIZES             YOU       HAD    FROM          NUMBER            UP       TO


    13    NUMBER         DOUBLE        00         AND        OF    COURSE          THE       DOUBLE          00    WAS


    14    BIG     STUFF           AND       THOSE        SCREENS             WOULD          PLUG    UP       AND       THEN


    15     OF    COURSE        EVERYTHING               WOULD          GO    TO    WASTE             SO YOU            HAD


    16     TO    KEEP     BRUSHING           SCREENS              TO    GET       THE       ORE    TO    GO

    17     THROUGH        THE     SCREENS           AND       GO       TO    THE       PROPER       BINS          FOR


    18     THE    PRODUCT

    19                         WHAT        DID    YOU        USED       TO    BRUSH          THE     SCREENS

    20                            BIG       OLD     BRISTLE             BROOM           ABOUT        LIKE         SO


    21     LONG      AND       TEETH        ON     IT    PROBABLY             ABOUT          THAT       LONG


    22     INDICATING                      AND    YOU        JUST       BRUSH          THOSE       SCREENS             OUT

    23     THAT    WOULD         JAR       THE     SMALL          STUFF       LOOSE

    24                         HOW     WOULD        YOU       DESCRIBE             THE       DUST


    25     CONDITIONS
Case 01-01139-AMC         Doc 22814-21                       Filed 08/14/09                      Page 7 of 15




                                                                                                                        15




                              VERY       DUSTY

                              WAS     IT      SO DUSTY              THAT       THE       DUST     WOULD


           LITERALLY          BUILD        UP    ON     THE         RAFTERS          AND        BEAMS

                              YEAH            YEAH

                                         MR      MACDONALD                     OBJECTION               LEADING

                                         THE     DEPONENT                     THERE        WAS    DUST       BUILT


           UP    ALL    OVER       THE     PLACE             AND         IVE        SEEN        DUST    STACKED


           UP    SIX    INCHES        DEEP       ON     THE         RAFTERS           AND       NATURALLY          WITH


           VIBRATION          SOME       OF     IT    WOULD          FALL        OFF       AND    BE    BACK       IN


    10     THE    AIR    AGAIN             7MD


    11     BY    MR     SULLIVAN

    12                        WHAT       WAS     INVOLVED                IN    WORKING           AS         BOTTOM


    13     FLOOR       OPERATOR

    14                        WELL         THAT       WAS       MORE          TAKING        CARE       OF    THE


    15     DRYERS         YOU        DID      HAVE             FEW       SCREENS           TO    TAKE       CARE     OF

    16     BUT    NOT    VERY        MANY            ARID      THE       DRYERS          ARE     IN    THIS


    17     THE    DRYERS       ARE       LOCATED                    BELIEVE           IN    HERE


    18     INDICATING                      IN    THIS          AREA            AND       THEY     DRIED       THE


    19     ORE    TO       CERTAIN            AMOUNT           OF    HUMIDITY              OR WATER


    20     CONTENT            AND     IF      YOU     LET       THEM          GET     TOO       HOT    IT    POPPED

    21     THE    ORE    AND        THEN      YOU     WERE          IN     TROUBLE

    22                        COULD        YOU       DESCRIBE              FOR      US     THE    WORK       THAT


    23     YOU    DID    AS          TESTER          IN     THE      TEST         LAB

    24                        AS         TESTER           IN    THE        TEST       LAB        YOU    RAN     TESTS


    25     ON    THE    ORE    TWICE              DAY       REGULARLY                 SOMETIMES             THREE
Case 01-01139-AMC            Doc 22814-21                     Filed 08/14/09                     Page 8 of 15




                                                                                                                          16




          TIMES             AND    YOUD         GO      IN    THE        MILL       AND     TAKE       SAMPLES

          OFF     OF    THE       DIFFERENT             BELTS          THAT      FED       TO    THE       DIFFERENT


          BINS     AND       SO    FORTH             AND      THEN        YOU       WOULD        TAKE        THAT


          BACK     TO       THE    TEST       LAB       AND       SCREEN         IT    TO       GET    IT     ALL


           SIZED        YOUR       DIFFERENT             GRADES           OR     SIZES          OF    ORE

                              AFTER        YOU       DID      THAT            WHY      YOU       WOULD        SEE        HOW


          MUCH     WASTE          YOU     HAD      THAT       HAD        COME       OUT     AND       YOU     WOULD


          GET          PERCENTAGE             OF     THAT          AND        YOU     COULD          TELL     WHETHER


           THE    ORE       WAS    FIT     TO      SAVE       OR         IF    THERE        WAS       TOO     MUCH


    10    WASTE        IN    IT     YOU       WOULD          THROW        IT     TO    WASTE          AND     IT


    11    WOULD        GO    OUT    OVER        THE      DUMP

    12                        IN    TERMS          OF    SCREENING               THE       ORE       THAT     YOU

    13    WOULD        GO    AND    GET         WOULD         YOU        ACTUALLY           SHAKE          THE


    14    MATERIAL           THROUGH          SCREENS

    15                        WE    HAD       BIG       ROUND          SCREENS             THEY       WERE        ABOUT


    16     SO BIG       AROUND          AND     THEY         WERE        ABOUT        SO    DEEP

    17     GESTURING               AND     THERE         WERE          ALL     DIFFERENT              MESHES         OF


    18     SCREEN       IN    THERE        FROM         REAL       FINE        UP     TO    ONE       ABOUT


    19     QUARTER          INCH    SQUARE              AND       IT     WOULD        SEGREGATE

    20                        YOU       WOULD        STACK         THOSE         SCREENS               THEY        WERE


    21     STACKABLE               ARID    YOU       WOULD         SHAKE         THEM       UNTIL          THE     ORE


    22    WAS     PRETTY          WELL     OUT       AND      THEN        YOUD         TAKE          AND    YOU

    23    WOULD        TEST       EACH     ONE       FOR      PERCENTAGE               OF       WASTE        IN     IT

    24                        DID       YOU     HAVE         TO     GO    INTO        THE       DRY    MILL         TO


    25     GET    ORE       SAMPLES        TO      TEST
Case 01-01139-AMC           Doc 22814-21                   Filed 08/14/09                  Page 9 of 15




                                                                                                                    17




                              PARDON

                              DID      YOU       HAVE    TO       GO   INTO        THE    DRY     MILL        TO


           GET     ORE   SAMPLES            TO    TEST

                              YES           YES

                              DID      YOU       INDICATE          THAT       YOU    ALSO        WORKED        ON


           OCCASION         AS         SWEEPER          IN    THE      DRY     MILL

                              YES

                              CAN      YOU       BRIEFLY          DESCRIBE          FOR    US     WHAT        WAS


           INVOLVED         IN PERFORMING                THE       WORK       AS         SWEEPER

    10                        THE      WORK       AS         SWEEPER          WAS    CLEANING            UP

    11     WHERE     ORE      WOULD         SPILL       OUT       OF      BELT       OR    SOMETHING

    12     WOULD     GET      OUT      OF     LINE      AND       DUMP    ORE       ON    THE     FLOOR            AND


    13     THEN     KEEPING         THE       FLOORS         SWEPT       UP    TO    WHERE        THEY        WERE


    14     CLEAN         AND      IT    WAS            NEVERENDING                 JOB

    15                        HOW      WOULD       YOU       DESCRIBE          THE       DUST     CONDITIONS


    16     WORKING       AS         SWEEPER

    17                        SEVERE          DUST           IT    WAS    ALWAYS          DUSTY

    18                        COULD         YOU    ACTUALLY            SEE     THE       DUST     IN     THE


    19     AIR

    20                        OH YEAH

    21                        WERE      THERE          OTHER       MEN    WORKING           IN    THE     DRY

    22     MILL     WHILE        YOU    WERE       SWEEPING

    23                        YES

    24                        AND      WOULD       THOSE          INCLUDE          THE    TOP     FLOOR


    25     OPERATOR
Case 01-01139-AMC          Doc 22814-21                      Filed 08/14/09                     Page 10 of 15




                                                                                                                         18




                            YES

                                   AND       THE       BOTTOM           FLOOR        OPERATOR

                            YEAH

                            AFTER           WORKING          AS     AN        OPERATOR              IN    THE     DRY


           MILL      WHAT       DID     YOU DO NEXT

                                  WENT       TO     THE      WET        MILL        FROM        THE       DRY     MILL

           NOT    THERE     VERY         LONG           BUT              RAN       THE     SPIRALS

                            CAN       YOU        SHOW        US     REFERRING                  TO    THIS        PHOTO


           EXHIBIT        125         WHERE         THE      WET        MILL        IS     LOCATED

     10                     THATS            THIS       AREA        HERE           INDICATING                      THE


     11    SPIRALS        ARE     JUST       EXACTLY              WHAT        IT    SAYS             THEY        ARE


     12    SPIRAL     TROUGH          WITH        WATER           RUNNING            IN    IT       AND    LITTLE


     13    BRANCHES         OFF    OF       IT         AND        THEY        WERE        SO THAT          AS     IT


     14    WENT     DOWN     IT     TOOK         THE    ORE        WITH        IT         AND             IT     WOULD


     15    TAKE     OFF         CERTAIN           AMOUNT           AT     EACH          ONE     OF       THESE


     16    OUTLETS           PUT       IT    THAT       WAY

     17                      HOW       LONG       DID        YOU    WORK           IN     THE       WET    MILL

     18                     NOT       TOO        LONG             JUST             FEW     MONTHS           AT    THE


     19    MOST

     20                      WHAT          DID    YOU        DO    NEXT

     21                           WENT       TO     THE       PIT        TO    BE          DUMP          MAN

     22                      DIRECTING              YOUR          ATTENTION               TO    PHOTO           EXHIBIT


     23    116 ANDY               CAN       YOU     DESCRIBE              FOR        US    THE       WORK        THAT


     24    WAS    INVOLVED            IN    DOING        YOUR       JOB        AS          DUMP          MAN

     25                      WELL           THIS        IS    THE        DUMP        WHERE          THE     WASTE
Case 01-01139-AMC            Doc 22814-21                   Filed 08/14/09                    Page 11 of 15




                                                                                                                           19




           FROM     THE       MINE       WENT       OUT          AND       YOU    CAN       SEE     WE       HAVE     GOT


                TRUCK        BACKED       UP      THERE      DUMPING                  YOU    BACKED            THEM        UP


           TO    WHERE        THEY       WOULDNT            GO    OVER       BUT       WHERE           THE     MAJOR


           PART     OF       THE    WASTE         WOULD      GO       OVER            AND     THEN       YOU       WOULD


           GET       PILE          UP    THERE        PRETTY          SOON       AND       THEY        WOULD       BRING


           THE     CAT       ALONG       AND      PUSHED         IT    OVER

                               WERE       YOU       EXPOSED           TO    MUCH       DUST        DOING          YOUR


           WORK     AS         DUMP       MAN

                               AS       THE     DUMP       MAN        YOU    WERE          ALWAYS        EXPOSED


     10    TO       CERTAIN             AMOUNT        OF    DUST       IN    THE       AIR     WHEN          IT    WAS


     11    DRY      BECAUSE             ANY     TIME       YOU     WORK      IN       AN     OPEN       PIT       THERE


     12    IS        WHERE           THEY       ARE      DRILLING           DRY       AND     MOVING                LOT


     13    OF     MATERIAL              THERE       IS     GOING       TO    BE       DUST        IN    THE       AIR

     14                        HOW       LONG       DID     YOU       WORK       AS          DUMP       MAN

     15                        MAYBE          SIX     MONTHS          AT    THE       MOST               DONT

     16    THINK        IT    WAS       QUITE       THAT     LONG

     17                        WHAT         WAS     YOUR     NEXT          POSITION

     18                        DRIVING            EUCLID

     19                        DIRECTING              YOUR       ATTENTION             TO


     20                              PROBABLY            DROVE        THAT       ONE        RIGHT       THERE         AT


     21    ONE     TIME       OR     ANOTHER

     22                        IS       THAT      RIGHT            THATS           THE       KIND       OF     TRUCK


     23            DROVE             WHAT       MAKES       YOU       THINK        YOU       MAY       HAVE       DRIVEN
           YOU

     24    THAT     ONE

     25                        PARDON
Case 01-01139-AMC         Doc 22814-21                       Filed 08/14/09                     Page 12 of 15




                                                                                                                         20




                               WHAT        MAKES        YOU    THINK           YOU    MIGHT           EVEN       HAVE


           DRIVEN        THAT      ONE

                               WELL          IT      JUST     LOOKS           LIKE    ONE        OF    THE       EUCS


           THAT          DROVE             UP     THERE        OF     COURSE               THEY       ALL       LOOK


           PRETTY        MUCH        ALIKE            AND          CANT         SEE        THE    NUMBER           ON


           THE    DOOR        WELL        ENOUGH        TO    MAKE        OUT    WHICH           ONE       IT    IS

             THINK        THATS            NUMBER        11        BUT           IF        IT    IS        WHY

           KNOW          DROVE        IT     AT      TIMES

                               ANDY          DIRECTING             YOUR        ATTENTION              NEXT       TO


     10    PHOTO     EXHIBIT              1IL         CAN     YOU     DESCRIBE              FOR       US    WHAT        WAS


     11    INVOLVED           IN     DOING        THE    WORK       AS          EUCLID           TRUCK          DRIVER

     12                        WELL          AS         EUCLID        TRUCK           DRIVER          YOU       WOULD


     13    HAUL     THE       MATERIAL            FROM       THE    MINE        OVER        TO    THE       TRANSFER


     14    POINT     WHERE           IT    WAS       SENT     TO    THE        MILL         AND       IF    IT     WAS


     15    WASTE         WHY       THEN         OF    COURSE             IT    WENT        OUT    TO       THE     DUMP

     16                         SO    THE       SHOVEL        WOULD           LOAD     YOU       UP    WITH


     17    EITHER        WASTE        MATERIAL           OR     ORE       TO    BE     TAKEN          DOWN       TO     THE


     18    MILL

     19                         YES

     20                         DID       YOU     ENCOUNTER           DUST       WORKING              AS         EUC


     21    TRUCK     DRIVER

     22                         WHEN       THE       WEATHER        WAS        DRY         YOU    HAD        DUST

     23    LOTS     OF    IT          IF     THERE       WAS             LOT    OF     SNOW       ON       THE


     24    GROUND        OR     HAD       BEEN       RAINING             THEN        THE    DUST       WASNT             SO


     25    BAD
Case 01-01139-AMC        Doc 22814-21            Filed 08/14/09                  Page 13 of 15




                                                                                                         21




                          WHEN    YOU    WORKED         IN    DUSTY        CONDITIONS               AS


           YOU    HAVE   DESCRIBED       DURING         YOUR    TESTIMONY                DID    YOU


           GET    DUST   ON   YOUR     CLOTHES

                          OH     SURE

                          DID    YOU    CARRY     THE        DUST     HOME       WITH     YOU       ON


           YOUR    CLOTHES

                          YES

                          HOW    LONG    DID     YOU     WORK       AS          EUC     TRUCK


           DRIVER

     10                    PROBABLY            TOTAL     OF          LITTLE       OVER        TWO


     11    YEARS          WAS    AT    THE    MINE      ABOUT        TWO    AND          HALF


     12    YEARS

     13                   HAVE         COVERED         ALL    THE     JOBS       THAT     YOU

     14    RECALL    PERFORMING         WHILE     YOU        WORKED        AT    ZONOLITE

     15                    YES    PRETTY        WELL

     16                   WHEN    YOU    WORKED         IN    THE     DRY       MILL      WERE       YOU


     17    GIVEN         RESPIRATOR

     18                    NO

     19                    DID   YOU    WEAR           RESPIRATOR

     20                    NO

     21                    DID   YOUR    SUPERVISOR             IN    THE       DRY     MILL     WEAR


     22    RESPIRATOR

     23                    NO

     24                    DID   YOU    WEAR           RESPIRATOR           WHEN        YOU

     25    PERFORMED       ANY   OF    YOUR     OTHER        JOBS     AT    ZONOLITE             SUCH
Case 01-01139-AMC         Doc 22814-21                   Filed 08/14/09                  Page 14 of 15




                                                                                                               22




           AS    WORKING        AS          MECHANIC         OR    WORKING          UP    AT    THE     MINE


           AS    YOU     HAVE       JUST       DESCRIBED

                               NO

                               DID       YOUR     SUPERVISORS            AT    THESE       OTHER


           POSITIONS           WEAR       RESPIRATORS

                                    NEVER       SAW         RESPIRATOR          WHILE            WAS     UP

           THERE       THAT           CAN      REMEMBER

                               WERE       YOU     EVER      REPRIMANDED             FOR    NOT    WEARING


                RESPIRATOR

     10                        NO

     11                        DID       YOU     EVER    SEE      ANY    ONE    REPRIMANDED              FOR


     12    NOT     WEARING               RESPIRATOR

     13                        NO

     14                        DO YOU          RECALL       SEEING       ANY    SIGNS          POSTED


     15    WARNING        YOU       TO    WEAR          RESPIRATOR

     16                        NO

     17                        ANDY         WHEN      YOU    WERE       HIRED       DID    THE     COMPANY

     18    WARN     YOU    THAT          ASBESTOS        WAS      TOXIC       AND    BREATHING           IT


     19    WAS     HARMFUL          TO    YOUR       HEALTH

     20                        WE     WERE      TOLD     YOU      COULD       EAT         TON    OF     IT    AND


     21    IT    WOULDNT            HURT       YOU

     22                        DURING          THE    ENTIRE        TIME      YOU    WORKED        THERE

     23    DID     THE    COMPANY            EVER     WARN     YOU      THAT    ASBESTOS           WAS


     24    HARMFUL        TO    YOUR        HEALTH

     25                        NO
Case 01-01139-AMC         Doc 22814-21                  Filed 08/14/09                  Page 15 of 15




                                                                                                              23




                              DID       THE    COMPANY        EVER       WARN     YOU     THAT


           BRINGING       HOME          THE    DUST     ON    YOUR       CLOTHES         COULD        BE


           HARMTUL       TO    YOU       AND    YOUR     FAMILY

                              NO

                              WHILE       YOU    WERE        WORKING       THERE          DID     YOU

           UNDERSTAND          THAT       ASBESTOS           WAS    PRESENT

                                   KNEW       ASBESTOS        WAS    PRESENT

                              BUT       DID    YOU     UNDERSTAND          AT     THAT        TIME     THAT


           IT    WAS      HEALTH          HAZARD

     10                       NO

     11                       DO    YOU       RECALL     EVER       HAVING        HEARD        STATEMENTS


     12    BY    YOUR    SUPERVISORS              OR MANAGERS             ABOUT         THE    DUST        SUCH


     13    AS    YOU    JUST       INDICATED                 THINK        TO     THE     EFFECT        THAT


     14    YOU    COULD       EAT         TON     OF    IT

     15                                  MR     MACDONALD                OBJECTION             LEADING

     16                                  THE    DEPONENT             WE    WERE         TOLD     IT


     17    WOULDNT        HURT          US

     18    BY    MR     SULLIVAN

     19                       SINCE       TERRY        MADE    AN    OBJECTION                   WILL


     20    RESTATE       THE       QUESTION           SO THAT       WE    GET     THE     MECHANICS


     21    RIGHT       BECAUSE            JUDGE        ISNT        PRESENT        AT     THIS     MOMENT

     22                       DID       YOU    EVER     HEAR       ANY    STATEMENTS             BY    YOUR

     23    SUPERVISORS             OR    MANAGERS        REGARDING              THE     DUST

     24                                  MR     SULLIVAN             YOU        MIGHT     SHOW        HIM

     25    TOO     MY    PREAMBLE             BECAUSE        IM     RESTATING            THE     QUESTION
